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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF LOUISANA


 JANA THERESA CHOWNS                            §
                                                §
                 Plaintiff                      §
                                                §
 v.                                             §    Civil Action No. 3:16-cv-00685-RGJ-KLH
                                                §
                                                §
 TRANUNION, LLC; and                            §
 EXPERIAN INFORMATION                           §
 SOLUTIONS, INC                                 §
                                                §
                                                §
                                                §
                 Defendants                     §



         JOINT STIPULATION OF DISMISSAL WITH PREJUDICE BETWEEN
                       PLAINTIFF JANA CHOWNS AND
            DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.

        Plaintiff Jana Chowns and Defendant Experian Information Solutions, Inc., (hereinafter

 Experian) stipulate, pursuant to FED. R. CIV. P. 41(a)(1)(A)(ii), to dismiss this action with

 prejudice.

        There are no longer any issues in this matter between Plaintiff Jana Chowns and

 Defendant Experian to be determined by this Court. The Parties hereby stipulates that all claims

 or causes of action against Experian which were or could have been the subject matter of this

 lawsuit are hereby dismissed with prejudice, with all costs and attorney fees to be paid by the

 party incurring same.



 Dated: 23rd day of August, 2017
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         Respectfully submitted,


 /s/Jonathan Raburn
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on the 23rd day of August, 2017, I electronically filed the foregoing
 with the Clerk of Court using the CM/ECF system which will send notification of such filing to
 the attorneys on record:



                                                  /s/ Jonathan Raburn
                                                  Jonathan Raburn
